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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                          :
 American Environmental                   :
 Enterprises, Inc. d/b/a                  :
 THESAFETYHOUSE.COM                       :             CIVIL ACTION
                                          :             No. 2022-CV-00688 (JMY)
                        Plaintiff,        :
         v.                               :
                                          :
 Manfred Sternberg, Esquire;              :
 Manfred Sternberg & Associates,          :
 PC; Charlton Holdings Group,             :
 LLC; Samuel Gross; Gary Weiss;           :
 A. Solar, LLC; Daphna Zekaria,           :
 Esq.; and Sokolski & Zekaria, PC,        :
                                          :
                        Defendants,       :
                                          :
                                          :

        STATEMENT OF UNDISPUTED MATERIAL FACTS OF
       DEFENDANTS MANFRED STERNBERG, ESQUIRE AND
            MANFRED STERNBERG & ASSOCIATES, PC
    IN SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT

      Pursuant to Federal Rule of Civil Procedure 56.1, Defendants Manfred

Sternberg, Esquire (“Sternberg”) and Manfred Sternberg & Associates, PC (“Sternberg

Law”) (collectively the “Sternberg Defendants”) submit the following Statement of

Undisputed Material Facts in support of their Motion for Summary Judgment.




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                          Exhibit Index for
            Motion for Summary Judgment of Defendants
      Manfred Sternberg, Esquire and Sternberg & Associates, P.C.

A. First Amended Complaint
B. Sale and Purchase Agreement
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Q. CHG-Sternberg Fee Agreement
R. Plaintiff 9-29-22 Reply to Sternberg Interrogatories
S. Plaintiff 9-29-22 Reply to Sternberg Request for Production
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      1. THE PARTIES

        1.       In this civil action, a plaintiff seeks to recover from a series of defendants for the

alleged failure to provide COVID-19 test kits during the global pandemic. See, Ex. A, First

Amended Complaint (“Complaint”).

        2.       In its Complaint, Plaintiff American Environmental Enterprises, Inc.

d/b/a THESAFETYHOUSE.COM (“Plaintiff”) purports to plead ten causes of action

against the following sets of defendants: (i) the seller of the test kits – Defendant

Charlton Holdings Group, LLC (“CHG”) and its president, Defendant Samuel Gross;

(ii) CHG’s supplier of the test kits – Defendant Gary Weiss (“Weiss”); Weiss’ attorney

in the transaction – Defendant Daphna Zekaria, Esq. (“Zekaria”); and, finally (iv) the

Sternberg Defendants, whose sole role in the transaction was as counsel for CHG. See,

id.

             A. Plaintiff (the Buyer)

        3.       Plaintiff is a Pennsylvania S corporation, solely owned by its president,

Daniel J. Scully, in the business of supplying personal protection and abatement

equipment (PPE). Id and Ex. L, 07/23/24, Deposition of Daniel J. Scully (“Scully Dep.”) at

36:12-22.

        4.       Scully has independently and exclusively operated Plaintiff since opening

the business in approximately 1993. Id. at 40:12-15.

        5.       Plaintiff employs ten individuals, including Scully. Id., at 50:9-10.




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       6.       Per its website, Plaintiff’s “headquarters and main shipping facility” in

West Chester, Pennsylvania “is positioned to service the Northeast corridor with [its]

own fleet of delivery trucks.” See, Plaintiff’s Website: https://thesafetyhouse.com/about-

us.

       7.       Plaintiff boasts that it can ship PPE equipment “anywhere in the United

States and surrounding countries.” Id.

       8.       In January 2022, Plaintiff executed a contract with CHG to purchase

151,200 iHealth COVID-19 test kits for an agreed upon purchase price of $1,965,600.

See Ex. A, Compl., at ¶ 1.

            B. CHG (the Seller) and Weiss (the Supplier)

       9.       CHG is a New York limited liability company, owned and operated by

Gross. Id. at ¶¶12-14.

       10.      As alleged, Gross enlisted his longtime ally, Weiss, to procure the test kits

necessary to fulfill Gross’ contract with Plaintiff. See Ex. J, 02/16/24 Deposition of Gary

Weiss (“Weiss Dep. 1”) at 46:12-21 and 49:13-23.

       11.      Weiss and Gross enjoyed a professional and personal relationship

spanning over 20 years since the early 2000s when they first collaborated in the diamond

sales industry. See Ex. J, Weiss Dep. 1, at 20:3-9.

       12.      Weiss and Gross first discussed the concept of PPE sales early in the

pandemic, but Weiss initially declined to participate in such a venture. Id. at 43:1-22.




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       13.    It was not until 2021 or 2022, when Weiss coincidentally learned of an

opportunity to purchase COVID-19 PPE equipment through a non-party vendor who

inquired whether Weiss knew of anyone interested in such products. Id at 41:18-42-20.

       14.    Knowing of Gross’ previous interest in PPE sales, Weiss solicited Gross

on January 24, 2022 to determine whether he remained in the market for COVID-19

products. Id. at 45:1-11.

          C. Zekaria (Weiss’ Counsel)

       15.    Zekaria was licensed to practice law in New York until her recent

suspension (which is unrelated to the allegations in this proceeding). See Ex. H,

06/16/24 Grievance Decision.

       16.    Weiss engaged Zekaria to represent him in connection with the

contemplated transaction between Plaintiff and CHG. See Ex. J, Weiss Dep. 1 at 117:4-

10.

       17.    Zekaria provided legal counsel to Weiss and utilized her attorney IOLTA

account to collect CHG’s funds earmarked for Plaintiff’s product. See Ex. J, Weiss Dep.

1, at 116:23-117:5.

          D. The Sternberg Defendants (CHG’s Counsel)

       18.    Sternberg Law is a Texas professional corporation with a principal place

of business in Houston, Texas. See Ex. A, Compl., at ¶ 9; see also Ex. I, 02/07/24

Deposition of Manfred Sternberg at 12:5-9.




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       19.     Sternberg is a member in good standing of the Texas bar and is “board

certified… in consumer and commercial law.” See, https://www.manfredlaw.com-

/manfred-sternberg.

       20.     Sternberg is involved in public policy representing the consumer, and was

initial Chairman for the Texas Health Services Authority, appointed by Texas Governor

Rick Perry. Id. He has nearly 40 years of experience practicing law and representing

businesses. Id.

       21.     Sternberg and his wife have two adult children. See, Ex. I, Sternberg Depo at

21:8-10, 20:15-19, and 251:14-20.

       22.     On August 23, 2023, the Sternberg Defendants timely filed an Answer to

Plaintiff’s First Amended Complaint with Crossclaims. See, Ex. G, Sternberg Answer.

             E. The Depositions

       23.     Weiss was deposed twice; February 16, 2024 and July 16, 2024.

       24.     Scully, individually and in his capacity as president of Plaintiff, was

deposed on July 23, 2024. See Ex. L, 07/23/24 Scully Deposition.

       25.     Zekaria was deposed on April 2, 2024. See Ex. M, 04/02/24 Uncertified

Zekaria Deposition at 96:20 - 97:3. Unfortunately, however, the court reporter refused to

certify the transcript due to alleged lack of professionalism exhibited by the witness and

by Plaintiff’s counsel. Id.

       26.     Sternberg was deposed individually and on behalf of Sternberg Law on

February 7, 2024. See Ex. I, 02/07/24 M. Stenberg Dep., at 12:5-9.

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       II.    THE CONTRACT

       28.    On January 21, 2022, Plaintiff agreed to purchase from CHG 151,200

iHealth Covid-19 Antigen Rapid two-pack test kits (the “Test Kits”) for $1,965,600. See

Ex. A, Compl. at ¶ 23 and See Ex. B, SPA, at ¶¶ 2-3.

       29.    Plaintiff and CHG memorialized the terms of their agreement in a

contract entitled the “Sale and Purchase Agreement” (“SPA”). See Ex. A, Compl. at ¶¶

23. 25 and Ex. B, SPA, generally.

       30.    Scully - on behalf of Plaintiff/buyer - and Gross – on behalf of

CHG/seller, executed the SPA. See, Ex. B. SPA.

       31.    The SPA explicitly incorporated CHG’s Standard Operating Procedure

(“SOP”). See Ex. B, SPA, at ¶ 6 and p. 8.

       32.    The SOP provides a systematic list of “how Seller engages with Buyers,”

as follows:




See Ex. B, SPA, at p. 8.

       33.    Thus, Plaintiff agreed to be bound by these all-important terms in the

following order: (i) the Sternberg Defendants, as counsel for CHG, would provide


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Plaintiff with the SPA; (ii) upon execution of the SPA, Plaintiff would wire the purchase

price to the Sternberg Defendants; (iii) the Sternberg Defendants would release those

funds to CHG; (iv) and then title for the test kits would transfer from CHG to Plaintiff.

Id.

       34.    Although this was the largest agreed upon purchase price of any

transaction in Plaintiff’s history, and it had previously relied upon attorneys for

assistance, Plaintiff negotiated this transaction without independent counsel. See, Ex. L,

Scully Dep. at 77:7-14, 56:14-20, and 82:20-23.

       35.    When pressed why Plaintiff did not engage an attorney to negotiate any

aspect of the SPA, Plaintiff’s president testified that he had “been doing this forever,”

and was comfortable negotiating directly with vendors without any independent due

diligence. Id. at 58:22-59:16.

       36.    During its evaluation process, Plaintiff did not request, propose or suggest

any revisions to the SPA. Id., at 97:22-98:2 and 177:10-20.

       37.    For its part, CHG engaged the Sternberg Defendants to provide CHG

with “legal counsel on various PPE transactions, escrow services, strategic counsel and

other matters as specifically assigned by Client.” See Ex. Q, CHG-Sternberg Fee Agreement.

       38.    As agreed upon by the parties per the SOP, the Sternberg Defendants

drafted the SPA. Ex. B, SPA, at p. 8.

       39.    Next, on January 21, 2022, Plaintiff delivered a purchase order and

effectuated a wire transfer of $1,965,500 to “Seller’s Attorney” into the Sternberg

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Defendants’ IOLTA account, as set forth in the SPA. See Ex. A, Compl. at ¶ 140; Ex. B,

SPA, at ¶ 4; and Ex. L, Scully Dep., at 65:15-19.

       40.    Thus, per the SPA, title transfer and the risk of loss associated with the

test kits transferred to Plaintiff on January 21, 2022. See Ex. B, SPA, at ¶ 9.

       41.    On February 1, 2022, at CHG’s direction, the Sternberg Defendants

transferred an initial installment of $219,240 to Weiss via the IOLTA account

maintained by Weiss’ attorney, Zekaria. See Ex. I, Sternberg Dep. at 176:18-23, 178:8-12

and 184:1-12. See also Ex. P, Lesovitz Report, at p. 10.

       42.    Subsequently, at CHG’s direction, the Sternberg Defendants transferred

the balance of the purchase price from CHG to Zekaria on February 4, 2022. Id.

       43.    As of February 4, 2022, it was incumbent upon CHG to deliver the test

kits to a common carrier with instructions to execute deliveries as directed by the

Plaintiff since the funds had now cleared CHG’s account as contemplated in the SPA.

See Ex. B, SPA, at ¶ 6.                                                                        Commented [SL1]: When did we release the funds to
                                                                                               CHG? Do we know that date? It’s important because that’s
                                                                                               the date that triggers CHG’s obligation to provide the kits,
       44.    In an ongoing effort to effectuate the delivery of the test kits to Plaintiff,   right?


Weiss demanded and CHG authorized the Sternberg Defendants to effectuate an

additional wire of $250,000 to Weiss via Zekaria’s IOLTA account on February 15,

2022. See Ex. I, Sternberg Dep. at 178:13-179:1.

       45.    Although the $250,000 transfer was not initially contemplated by any of

the interested parties, Weiss demanded this increase to address unforeseen delays and

purportedly to expedite delivery. Id.

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       46.    When Weiss still had not provided the test kits by February 25, 2022, he

again demanded more funds, this time $190,000, which the Sternberg Defendants wired

to Zekaria’s IOLTA account at the direction of their client, CHG. See, Ex. I, Sternberg

Dep. at 180:5-16.

       47.    As its counsel, the Sternberg Defendants issued a warning regarding

Weiss’ continued demands for payments in excess of their agreement and cautioned

that it may constitute Weiss’ “fraud in the inducement.” Id. at 180:17-181:3.

       48.    Still, the Sternberg Defendants complied with the requests of their client

and exhausted their IOLTA account of all funds provided by Plaintiff. Id. at 181:4-14.

       49.    As expected, given their role as counsel only to CHG, the Sternberg

Defendants had no dialog or other exchange of any kind with Plaintiff prior to the

parties’ execution of the SPA, the January 21, 2022 wire transfer or the disbursements

of Plaintiff’s funds made at CHG’s instruction. See, Ex. L, Scully Dep., at 20:16-22 and

85:1-6.

       50.    It was not until February 16, 2022 when Plaintiff first communicated with

the Sternberg Defendants by way of a demand for a refund. See Ex. F, 02/16/22 Email

re Refund. A refund was impossible given that the Sternberg Defendants had complied

with the SPA and with their client’s requests by distributing Plaintiff’s funds nearly two

weeks earlier. Id.

       51.    Plaintiff filed suit the following week, on February 23, 2022.




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            III.   THE STERNBERG DEFENDANTS’ LIMITED RESPONSIBILITIES
                   UNDER THE CONTRACT

      52.     Plaintiff’s theories are creative, albeit unsupported, in that it has alleged

that despite the lack of an engagement letter, retainer payment, or invoice of any kind

between them, Plaintiff somehow had a right to rely upon the Sternberg Defendants –

CHG’s counsel - as if they entered into an attorney-client relationship. Ex. L, Scully

Dep., at 77:18-78:10.

      53.     Nonetheless, Plaintiff conceded, as it must, that he fully understood the

Sternberg Defendants’ role as counsel only to CHG and that Plaintiff was

unrepresented in the transaction. Id., at 89:13-22 and 62:13-14.

      54.     The Sternberg Defendants’ exclusive role with respect to the SPA was that

of “Seller’s Attorney.” See. Ex. B, SPA, at ¶¶ 4 and 5.

      55.     As such, the Sternberg Defendants were expected to (i) draft the SPA, (ii)

to collect funds from Plaintiff using its IOLTA account, and (iii) to release such funds

at the direction of CHG. See Ex. B, SPA, at ¶ 6 and p. 8, ¶ 4-7.

      56.     As agreed upon by the contracting parties, the Sternberg Defendants were

to release the purchase price funds at the direction of CHG which then triggered CHG’s

duty to provide the test kits and also triggered the risk of loss from CHG to Plaintiff.

See Ex. B, SPA, at ¶¶ 4-6, 9 and p. 8 at ¶¶ 3-5. The applicable contracts do not contain

any conditions prerequisite to the release of the purchase funds to CHG.




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       57.    The SPA is completely devoid of any responsibility on the Sternberg

Defendants to warrant, secure, verify or provide test kits to Plaintiff or anyone. See Ex.

B, SPA, ¶¶ 1-8 and p. 1-8.

       58.    The SPA and SOP consistently reference the “Seller’s Attorney.” See Ex.

B, SPA, at ¶¶ 4-5 and p. 8 at ¶¶ 2-3 but there is no mention of a “Buyer’s Attorney.”

       59.    The SPA and SOP contained no terms explicitly governing the conduct

of the Sternberg Defendants other than the expectation that the “Seller’s Attorney”

would accept Plaintiff’s wire and, in turn, distribute those funds to CHG.

       60.    The Sternberg Defendants had no responsibility of any kind once they

transferred the balance of the purchase price funds from Plaintiff per CHG’s

instructions on February 4, 2022. See Ex. I, Sternberg. Dep. at 176:18-23, 178:8-12 and

184:1-12. See also Ex. P, Lesovitz Report, at p. 10.

       IV.    THE FAILURE TO DELIVER

       61.    Although the SPA does not specify an agreed upon delivery date, Plaintiff

testified that it anticipated delivery on January 25, 2022, a few days after effectuating

the wire. Ex. L, Scully Dep. at 96:7-12.

       62.    CHG did not deliver test kits to Plaintiff on January 25, 2022. Id., at 98:3-

17.

       63.    Ultimately, after several weeks of unexplained delays, Weiss allegedly grew

impatient with his common carrier and planned to personally deliver the test kits

earmarked for Plaintiff and other CHG customers. Ex. J, Weiss Dep. 1, at 102:6-20.

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      64.      Unbelievably, however, in or about March 2022 – after Plaintiff initiated

this action - Weiss claimed that the test kits he previously inspected personally had

mysteriously and inexplicably been replaced by bags of rice. See Ex. J, Weiss Dep. 1, at

106:15-1-7:22 and Ex. K, 07/06/24 Transcript of Weiss’ Second Deposition, at 138:1-9.

      65.      Weiss did not notify the Sternberg Defendants or Plaintiff, or any

insurance agency used to insure the kits as required by contract, nor any law

enforcement agency of this unexpected development. Ex. K, Weiss Dep. 2, at 194:4-24.

      V.       THE CIVIL ACTION COMPLAINT

      66.      Plaintiff initiated this litigation on February 23, 2022 via a Complaint. See

ECF No. 1.

      67.      Plaintiff filed a First Amended Complaint on July 31, 2023. See Ex. A and

ECF No. 80.

      68.      Plaintiff seeks to recover from the Sternberg Defendants pursuant to the

following theories:

            a. Count I: fraud in the inducement,
            b. Count II: fraud,
            c. Count IV: civil conspiracy,
            d. Count VII: participation theory,
            e. Count VIII: unjust enrichment/quantum meruit,
            f. Count IX: intentional interference with existing contractual relations, and
            g. Count X: intentional interference with prospective economic advantage.
            See Ex. A at pp. 11, 13, 16, 20, 23, 24 and 25, respectively.

      69.      As alleged, the Sternberg Defendants “fraudulently induce[d] Plaintiff to

make the wire transfer to them, the Gross and Sternberg Attorney Defendants


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represented that the $1,965,600.00 Purchase Price would remain in the attorney escrow

account of the Sternberg Attorney Defendants, and that the $1,965,600.00 Purchase

Price would not be released […].” See, Ex. A, Complaint at ¶ 39.

       70.     Plaintiff also alleges that “the Sternberg Attorney Defendants wrongfully

and improperly and prematurely released Plaintiff’s $1,965,600.00 Purchase Price from

escrow, without confirming that the Covid Test Kits were purchased, and without

confirming that the Covid Test Kits were delivered to a recognized common carrier for

delivery to Plaintiff.” Id. at ¶ 69.

       71.     Plaintiff’s allegations are inconsistent with the facts and conflict with the

agreed upon terms set forth in the SPA. See Ex. B, SPA, at ¶¶ 4-6, 9 and p. 8 at ¶¶ 3-5.

       VI.     THE STERNBERG DEFENDANTS’ UNREFUTED EXPERT SUBMISSIONS

       72.     Summary judgment is warranted in favor of the Sternberg Defendants as

evidenced, in part, by the expert submissions timely disclosed on August 16, 2024. See

Ex. N, Rule 26 Supplement.

       73.     Steven Angstreich, Esquire, a partner at Weir Greenblatt Pierce LLP, has

been licensed to practice law in Pennsylvania for more than 50 years, and has handled

actions involving allegations against attorneys. See Ex. O, Angstreich Report, at pp. 3, 14.

       74.     Angstreich concluded that “to a reasonable degree of legal certainty that

neither Mr. Sternberg nor the law firm breached any duty to Plaintiff, and neither is

liable to Plaintiff for the loss of the funds.” Id., at p.13.




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        75.     The Sternberg Defendants’ position is also bolstered by the opinions of

Joseph W. Lesovitz, a Forensic, Litigation and Valuation Services Group partner in

Eisner Amper where he specializes in calculating damages in complex commercial

litigation and in providing financial consulting and forensic accounting services. See, Ex.

P, Lesovitz Report, at p. 15.

        76.     Lesovitz is a Certified Public Accountant and a Certified Fraud Examiner.

Id., at p. 4.

        77.     Lesovitz reviewed the pertinent evidence of record and concluded that the

Sternberg Defendants did not withhold any of Plaintiff’s funds nor otherwise financially

benefit from the contemplated transaction. Id., at p. 11.

        78.     Plaintiff produced no timely expert reports to either affirmatively support

its unsubstantiated claims as to liability and damages, or to rebut the opinions of the

Sternberg Defendants’ experts.

        79.     The Sternberg Defendants submit this statement of undisputed material

facts in support of their motion for summary judgment.

                                           GOLDBERG SEGALLA LLP

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                                   Attorneys for Defendants Manfred Sternberg, Esq.
                                   and Manfred Sternberg & Associates, PC
Dated:        September 30, 2024
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